Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6874 Page 1 of 23




 ANDERSON & KARRENBERG
 HEATHER M. SNEDDON
 JARED SCOTT
 50 West Broadway, Suite 700
 Salt Lake City, UT 84101
 Telephone: 801/534-1700                          BOIES SCHILLER FLEXNER LLP
 801/364-7697 (fax)                               SCOTT E. GANT
                                                  MELISSA F. ZAPPALA
 ROBBINS GELLER RUDMAN                            1401 New York Ave., NW
   & DOWD LLP                                     Washington, DC 20005
 DAVID W. MITCHELL                                Telephone: 202/237-2727
 BRIAN O. O’MARA                                  202/237-6131 (fax)
 STEVEN M. JODLOWSKI                                – and –
 ASHLEY M. KELLY                                  CARL GOLDFARB
 655 West Broadway, Suite 1900                    401 East Las Olas Blvd., Suite 1200
 Telephone: 619/231-1058                          Fort Lauderdale, FL 33301
 619/231-7423 (fax)                               Telephone: 954/356-0011
 San Diego, CA 92101                              954/356-0022 (fax)

 Attorneys for Plaintiffs

                            IN THE UNITED STATES DISTRICT COURT

                            DISTRICT OF UTAH, CENTRAL DIVISION

 J THOMPSON, et al., Individually and on      )   No. 2:16-cv-01183
 Behalf of All Others Similarly Situated,     )
                                              )   CLASS ACTION
                                Plaintiffs,   )
                                              )   Honorable Judge Tena Campbell
          vs.                                 )   Honorable Magistrate Judge Dustin B. Pead
                                              )
 1-800 CONTACTS, INC., et al.,                )   PLAINTIFFS’ MOTION FOR ORDER
                                              )   PRELIMINARILY APPROVING
                                Defendants.   )   SETTLEMENT WITH REMAINING
                                              )   DEFENDANT 1-800 CONTACTS, INC.,
                                                  CONDITIONALLY CERTIFYING
                                                  SETTLEMENT CLASS, APPROVING
                                                  NOTICE PROGRAM AND
                                                  PRELIMINARILY APPROVING PLAN OF
                                                  DISTRIBUTION




 4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6875 Page 2 of 23


                                                  TABLE OF CONTENTS
                                                                                                                                        Page
 RELIEF REQUESTED AND GROUNDS FOR RELIEF ..............................................................1

 PRELIMINARY STATEMENT .....................................................................................................1

 I.       THE PROPOSED 1-800 SETTLEMENT SHOULD BE PRELIMINARILY
          APPROVED ........................................................................................................................2

 II.      THE PROPOSED 1-800 SETTLEMENT CLASS SHOULD BE CERTIFIED .................5

          A.         The Requirements of Rule 23(a) Are Satisfied ........................................................5

                     1.        Numerosity ...................................................................................................5

                     2.        Commonality................................................................................................5

                     3.        Typicality .....................................................................................................6

                     4.        Adequacy .....................................................................................................6

          B.         The Requirements of Rule 23(b) Are Satisfied........................................................7

 III.     THE PROPOSED MANNER AND FORMS OF NOTICE SHOULD BE
          APPROVED ........................................................................................................................8

          A.         The Proposed Manner of Notice Should Be Approved ...........................................9

          B.         The Proposed Forms of Notice Should Be Approved ...........................................12

 IV.      THE PLAN OF DISTRIBUTION SHOULD BE PRELIMINARILY APPROVED........14

 V.       PROPOSED SCHEDULE OF SETTLEMENT EVENTS ................................................15

 VI.      CONCLUSION ..................................................................................................................16




                                                                   -i-
 4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6876 Page 3 of 23


                                                TABLE OF AUTHORITIES
                                                                                                                                    Page
 CASES

 Amchem Prods., Inc. v. Windsor,
   521 U.S. 591 (1997) ...........................................................................................................5, 7, 8

 CGC Holding Co., LLC v. Broad and Cassel,
   773 F.3d 1076 (10th Cir. 2014) .................................................................................................7

 DG ex rel. Stricklin v. Devaughn,
   594 F.3d 1188 (10th Cir. 2010) .................................................................................................6

 Geiger v. Sisters of Charity of Leavenworth Health Sys., Inc.,
    No. 14-2378, 2015 WL 4523806
    (D. Kan. July 27, 2015)..............................................................................................................4

 Gen. Tel. Co. of the Sw. v. Falcon,
    457 U.S. 147 (1982) ...................................................................................................................6

 Gooch v. Life Inv’rs. Ins. Co. of Am.,
    672 F.3d 402 (6th Cir. 2012) ...................................................................................................12

 Hershey v. ExxonMobil Oil Corp.,
    No. 07-1300-JTM, 2012 U.S. Dist. LEXIS 153803
    (D. Kan. Oct. 26, 2012)............................................................................................................14

 In re Crocs, Inc. Sec. Litig.,
     No. 07-CV-02351-PAB-KLM, 2013 U.S. Dist. LEXIS 122593
     (D. Colo. Aug. 28, 2013) ...........................................................................................................8

 In re Domestic Airline Travel Antitrust Litig.,
     322 F. Supp. 3d 64 (D.D.C. 2018) .....................................................................................10, 11

 In re Equifax Customer Data Sec. Breach Litig.,
     No. 1:17-md-2800-TWT, 2020 U.S. Dist. LEXIS 7841
     (N.D. Ga. Jan. 13, 2020) ....................................................................................................10, 12

 In re Motor Fuel Temp. Sales Practices Litig.,
     No. 07-MD-1840-KHV, 2011 WL 4431090
     (D. Kan. Sept. 22, 2011) ............................................................................................................2

 In re Optical Disk Drive Prods. Antitrust Litig.,
     No. 3:10-md-2143 RS, 2016 WL 7364803
     (N.D. Cal. Dec. 19, 2016) ..................................................................................................10, 12

 In re Sprint Corp. ERISA Litig.,
     443 F. Supp. 2d 1249 (D. Kan. 2006) ......................................................................................14

                                                                   - ii -
 4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6877 Page 4 of 23




                                                                                                                                    Page

 In re Urethane Antitrust Litig.,
     237 F.R.D. 440 (D. Kan. 2006)..........................................................................................5, 6, 8

 In re Urethane Antitrust Litig.,
     768 F.3d 1245 (10th Cir. 2014) .............................................................................................5, 8

 In re Urethane Antitrust Litig.,
     No. 04-1616-JWL, 2016 U.S. Dist. LEXIS 99839
     (D. Kan. July 29, 2016)............................................................................................................14

 Jones v. Nuclear Pharmacy, Inc.,
    741 F.2d 322 (10th Cir. 1984) ...................................................................................................2

 Lane v. Facebook, Inc.,
    696 F.3d 811 (9th Cir. 2012) .....................................................................................................9

 Morgan v. Public Storage,
   301 F. Supp. 3d 1237 (S.D. Fla. 2016) ......................................................................................9

 Ogden v. Figgins,
    315 F.R.D. 670 (D. Kan. 2016)..................................................................................................6

 Rajagopalan v. Meracord, LLC,
    No. 12-CV-05657-BHS, 2015 U.S. Dist. LEXIS 63596
    (W.D. Wash. May 14, 2015) ....................................................................................................11

 Rhodes v. Olson Assocs., P.C.,
    308 F.R.D. 664 (D. Colo. 2015) ............................................................................................2, 4

 Rutter & Wilbanks Corp. v. Shell Oil Co.,
    314 F.3d 1180 (10th Cir. 2002) .................................................................................................6

 Swinton v. SquareTrade, Inc.,
    No. 4:18-CV-00144-SMR-SBJ, 2019 U.S. Dist. LEXIS 25458
    (S.D. Iowa Feb. 14, 2019) ........................................................................................................10

 Tennille v. W. Union Co.,
    785 F.3d 422 (10th Cir. 2015) .......................................................................................8, 12, 13

 Wal-Mart v. Dukes,
    564 U.S. 338 (2011) ...................................................................................................................5




                                                                  - iii -
 4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6878 Page 5 of 23




                                                                                                                                               Page

 STATUTES, RULES AND REGULATIONS

 15 U.S.C.
    §1................................................................................................................................................5

 Federal Rules of Civil Procedure
    Rule 23 ............................................................................................................................. passim
    Rule 23(a)...........................................................................................................................5, 6, 7
    Rule 23(a)(4) ..........................................................................................................................6, 7
    Rule 23(b) ..................................................................................................................................7
    Rule 23(b)(3)..........................................................................................................................7, 8
    Rule 23(c)(2)(B).........................................................................................................8, 9, 12, 13
    Rule 23(e)...........................................................................................................................12, 13
    Rule 23(e)(1)(B).........................................................................................................................8

 SECONDARY AUTHORITIES

 Manual for Complex Litigation, Fourth
   (Federal Judicial Center 2004)
   §21.311.....................................................................................................................................12




                                                                        - iv -
 4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6879 Page 6 of 23




                     RELIEF REQUESTED AND GROUNDS FOR RELIEF
          Plaintiffs respectfully move this Court for entry of an order: (1) preliminarily approving the

 settlement agreement between Plaintiffs and 1-800 Contacts, Inc. (“1-800”) (the “Proposed 1-800

 Settlement”); (2) conditionally certifying a proposed 1-800 settlement class; (3) approving the

 manner and form of notice to the Settlement Classes covered by the Proposed 1-800 Settlement and

 the previous, preliminarily approved settlements with: (i) Arlington Contact Lens Service, Inc. and

 National Vision, Inc. (collectively, “AC Lens/NVI”); (ii) Vision Direct, Inc., Walgreens Boots

 Alliance, Inc., and Walgreen Co. (collectively, “WAG/VD”); and (iii) Luxottica Retail North

 America, Inc. (“Luxottica”) (ECF Nos. 150, 248, 273); and (4) approving Plaintiffs’ proposed Plan

 of Distribution for the monies recovered through those settlements. This motion is based on the

 following argument and points and authorities, the Declaration of Steven M. Jodlowski, the

 Declaration of Julie N. Green, any papers filed in reply, the argument of counsel, and all papers and

 records on file in this matter.

                                   PRELIMINARY STATEMENT
          After several years of litigation, Plaintiffs have reached an agreement to resolve their claims

 against 1-800, the last remaining Defendant. The agreement, which provides for a $15.1 million

 cash payment, makes the total recovery for the Settlement Classes $40 million. Jodlowski Decl.,

 Ex. A, ¶1.33. Because the amount is fair, adequate and reasonable, Plaintiffs seek preliminary

 approval of the Proposed 1-800 Settlement.

          If the Proposed 1-800 Settlement is preliminarily approved, then Plaintiffs will have

 preliminarily approved settlements with all Defendants in this litigation. That would allow Plaintiffs

 to consolidate into a single program the notice and administration processes for the Proposed 1-800



                                                   -1-
 4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6880 Page 7 of 23




 Settlement and the previously approved settlements with AC Lens/NVI, Luxottica and WAG/VD,

 resulting in significant cost savings for the Settlement Classes. To that end, Plaintiffs seek approval

 of a single notice program to inform class members of all four settlements, and a plan to distribute

 the $40 million settlement fund.1 As detailed below, Plaintiffs’ proposed notice program is designed

 to provide the best practicable notice and clearly and concisely explains the terms of the proposed

 Settlements, Settlement Class members’ options and deadlines for exercising them. Plaintiffs’ Plan

 of Distribution is based on a factual record amassed through discovery, and has been crafted to treat

 members of the Settlement Classes fairly and distribute the funds efficiently.

 I.       THE PROPOSED 1-800 SETTLEMENT SHOULD BE PRELIMINARILY
          APPROVED

          At this stage, the Court must make a preliminary determination regarding the fairness,

 reasonableness, and adequacy of the settlement terms. See Jones v. Nuclear Pharmacy, Inc., 741

 F.2d 322, 324 (10th Cir. 1984) (“In exercising its discretion, the trial court must approve a settlement

 if it is fair, reasonable and adequate.”); Rhodes v. Olson Assocs., P.C., 308 F.R.D. 664, 666 (D. Colo.

 2015). Preliminary approval is appropriate “where the proposed settlement ‘appears to be the

 product of serious, informed, non-collusive negotiations, has no obvious-deficiencies, does not

 improperly grant preferential treatment to class representatives or segments of the class and falls

 within the range of possible approval.’”2 In re Motor Fuel Temp. Sales Practices Litig., No. 07-MD-

 1840-KHV, 2011 WL 4431090, at *5 (D. Kan. Sept. 22, 2011).




 1
     Plaintiffs previously filed a motion seeking approval of a notice program and plan of distribution
 for the three previous settlements, but withdrew it and filed the instant motion after reaching a
 settlement with 1-800. See ECF Nos. 312, 316, 317.
 2
      Unless otherwise noted, citations are omitted and emphasis is added, here and throughout.

                                                  -2-
 4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6881 Page 8 of 23




          The 1-800 agreement is consistent with, and modeled after, the preliminarily approved

 WAG/VD, AC Lens/NVI and Luxottica agreements.                    The 1-800 agreement provides for

 $15.1 million in monetary relief. Jodlowski Decl.,3 Ex. A, ¶1.33. Within 15 days of the Court’s

 entry of the preliminary approval order, $3,100,000 of the settlement monies will be paid into an

 Escrow Account and the remaining $12,000,000 will be deposited within 10 business days after final

 approval. Id., ¶3.1. Any interest earned on the settlement fund will become part of the settlement.

 Id., ¶1.36. The settlement funds are non-reversionary. Id., ¶¶8.9, 10.5.

          The agreement is made on behalf of the following purchasers:

          [A]ll persons in the United States who do not timely exclude himself, herself, or
          themselves and who made at least one online purchase of contact lenses from 1-800
          from January 1, 2004 to September 12, 2019 or any of the following entities during the
          specified time period: (i) Vision Direct, Inc. (“Vision Direct”), Walgreens Boots
          Alliance, Inc., Walgreen Co. (“Walgreens,” collectively with Vision Direct referred to
          as “WAG/VD”) from January 1, 2004 to September 12, 2019; (ii) Arlington Contact
          Lens Service, Inc. or National Vision Inc. (collectively, “AC Lens/NVI”) from March
          10, 2010 to September 19, 2017; or (iii) Luxottica of America, Inc. (f/k/a Luxottica
          Retail North America, Inc.) (“Luxottica”) from December 23, 2013 to July 5, 2019.
          Excluded from the Settlement Class are Defendants, their parent companies,
          subsidiaries and affiliates, any alleged Agreement Counterparties, governmental
          entities and instrumentalities of government, states and their subdivisions, agencies and
          instrumentalities.

 Id., ¶1.34.

          As in the three previous settlement agreements, Plaintiffs and members of the Settlement

 Class that do not exclude themselves will give up their rights to sue 1-800 for claims “arising from or

 relating . . . to . . . the predicate of the Action.” Id., ¶¶1.30-1.33, 7.1-7.4.



 3
     Declaration of Steven M. Jodlowski in Support of Plaintiffs’ Motion for Order Preliminarily
 Approving Settlement with Remaining Defendant 1-800 Contacts, Inc., Conditionally Certifying
 Settlement Class, Approving Notice Program and Preliminarily Approving Plan of Distribution
 (“Jodlowski Decl.”), filed concurrently.


                                                    -3-
 4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6882 Page 9 of 23




          The Proposed 1-800 Settlement is the product of multiple rounds of intense negotiations

 among experienced counsel. In fact, the parties twice previously attempted, but failed, to resolve the

 action before ultimately finding success on the third round of negotiations. As a result of these

 negotiations, Co-Lead Class Counsel achieved a sizeable monetary recovery. This negotiation

 history points in favor of finding that “the settlement negotiations in the instant case were fair,

 honest, and conducted at arm’s length.” Rhodes, 308 F.R.D. at 667; see also Geiger v. Sisters of

 Charity of Leavenworth Health Sys., Inc., No. 14-2378, 2015 WL 4523806, at *2 (D. Kan. July 27,

 2015). The Proposed 1-800 Settlement was also informed by years of litigation, which fully

 informed Plaintiffs regarding the strengths and risks associated with their claims, including at class

 certification, trial, and through any potential appeal. The Proposed 1-800 Settlement eliminates the

 continuing expense and uncertainty of litigation against 1-800 in favor of immediate, substantial

 compensation for the settlement class.

          Co-Lead Class Counsel has conducted a thorough investigation, and has expended substantial

 time and money, analyzing Plaintiffs’ claims and damages, reviewing extensive document productions,

 and conducting and defending depositions. Co-Lead Class Counsel has also retained economists and

 other experts and conducted a considerable amount of work in connection with Plaintiffs’ class

 certification motion, which has been substantially briefed. This work informed Co-Lead Class

 Counsel’s views on the anticompetitive nature and impact of the bidding agreements, as well as

 1-800’s potential liability and exposure and Plaintiffs’ potential risks in continuing to litigate this

 matter. Based on the judgment of Co-Lead Class Counsel, Plaintiffs recommend this settlement,

 which provides a sizeable monetary benefit to the Settlement Class. See Rhodes, 308 F.R.D. at 667




                                                  -4-
 4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6883 Page 10 of 23




  (“Class Counsel are experienced in consumer class actions, and weight is given to their favorable

  judgment as to the merits, fairness, and reasonableness of the settlement.”).

  II.      THE PROPOSED 1-800 SETTLEMENT CLASS SHOULD BE CERTIFIED

           The Proposed 1-800 Settlement involves the same claims, on behalf of a class defined in

  substantially the same way, and arising out of the same facts, as in the settlements previously

  approved. Like the earlier settlement classes, the Settlement Class contained in the Proposed 1-800

  Settlement meets the requirements of Rule 23 of the Federal Rules of Civil Procedure.

           A.         The Requirements of Rule 23(a) Are Satisfied

                      1.    Numerosity
           The 1-800 Settlement Class consists of at least several million consumers geographically

  dispersed across the United States; therefore, numerosity is readily satisfied. Jodlowski Decl., ¶5; see

  In re Urethane Antitrust Litig., 237 F.R.D. 440, 446 (D. Kan. 2006) (“Urethane I”) (certifying class

  consisting of “hundreds, if not thousands, of geographically dispersed businesses”).

                      2.    Commonality
           Even though commonality only requires “‘a single [common] question,’” numerous common

  issues of fact and law that affect all or a substantial number of Settlement Class Members on

  liability, impact and damages exist here. Wal-Mart v. Dukes, 564 U.S. 338, 359 (2011). The nature

  of antitrust claims brought under §1 of the Sherman Antitrust Act has led courts to routinely find that

  commonality exists. 15 U.S.C. §1; Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 625 (1997)

  (predominance is “a test readily met in certain cases alleging . . . violations of the antitrust laws”);

  Urethane I, 237 F.R.D. at 446-47 (collecting cases); In re Urethane Antitrust Litig., 768 F.3d 1245,

  1254 (10th Cir. 2014) (“Urethane II”) (collecting cases).




                                                   -5-
  4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6884 Page 11 of 23




                      3.   Typicality
           As the Supreme Court has observed, “[t]he commonality and typicality requirements of

  Rule 23(a) tend to merge.” Gen. Tel. Co. of the Sw. v. Falcon, 457 U.S. 147, 157 n.13 (1982).

  “Provided the claims of Named Plaintiffs and putative class members are based on the same legal or

  remedial theory, differing fact situations of the putative class members do not defeat typicality.” DG

  ex rel. Stricklin v. Devaughn, 594 F.3d 1188, 1198-99 (10th Cir. 2010). “[L]ike commonality,

  typicality exists where . . . all [putative] class members are at risk of being subjected to the same

  harmful practices, regardless of any class member’s individual circumstances.” Id. at 1199.

           Plaintiffs’ claims arise from the same course of conduct: Defendants’ agreements not to

  compete in certain online advertising. ECF No. 72, Amended Complaint, ¶2. The claims of the

  1-800 Settlement Class are all based on the same legal or remedial theory, which is that they suffered

  damages by virtue of having purchased contact lenses online at prices artificially inflated due to the

  advertising agreements. By virtue of the antitrust allegations in this action, “[P]laintiffs’ claims are

  typical of those of the [Settlement] class because the claims all depend on proof of the antitrust

  violation by the defendants, not on the [P]laintiffs’ individual positions.” Urethane I, 237 F.R.D. at

  447.

                      4.   Adequacy
           Adequacy is satisfied under Rule 23(a)(4) if the class representatives do not have interests

  that are antagonistic to those of the class and their chosen counsel is qualified, experienced, and able

  to conduct the litigation. See Rutter & Wilbanks Corp. v. Shell Oil Co., 314 F.3d 1180, 1187-88

  (10th Cir. 2002). Only “fundamental” conflicts that “go to the specific issues in controversy”

  prevent certification. Ogden v. Figgins, 315 F.R.D. 670, 675 (D. Kan. 2016). Plaintiffs satisfy the



                                                   -6-
  4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6885 Page 12 of 23




  adequacy requirement of Rule 23(a)(4) here because: (i) there are no conflicts of interest between

  Plaintiffs and the 1-800 Settlement Class as a whole; and (ii) the attorneys prosecuting this case are

  exceptionally qualified to litigate this matter. Plaintiffs are all adequate representatives of the 1-800

  Settlement Class and should be appointed as class representatives for settlement purposes. Plaintiffs

  and members of the class share the same interest in maximizing their recovery, as they all purchased

  contact lenses during the applicable period at artificially inflated prices. Jodlowski Decl., ¶5. Thus,

  Plaintiffs’ interest in proving liability and damages is entirely aligned with that of the 1-800

  Settlement Class. Indeed, Co-Lead Class Counsel have now obtained $40 million on behalf of class

  members.

           B.         The Requirements of Rule 23(b) Are Satisfied
           Once it is determined that the proposed class satisfies Rule 23(a), a class should be certified

  under Rule 23(b)(3) if “the court finds that the questions of law or fact common to class members

  predominate over any questions affecting only individual members, and that a class action is superior

  to other available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ.

  P. 23(b)(3).        “The Rule 23(b)(3) predominance inquiry tests whether proposed classes are

  sufficiently cohesive to warrant adjudication by representation.” Amchem Prods., 521 U.S. at 623.

  “It is not necessary that all of the elements of the claim entail questions of fact and law that are

  common to the class, nor that the answers to those common questions be dispositive.” CGC Holding

  Co., LLC v. Broad and Cassel, 773 F.3d 1076, 1087 (10th Cir. 2014).

           Here, proof of the existence of the unlawful agreements, and their terms and participants, will

  consist of class-wide, common evidence that will necessarily focus on Defendants’ conduct, and not

  the conduct of individual class members. In addition, predominance is demonstrated, as in this case,



                                                    -7-
  4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6886 Page 13 of 23




  where the impact of the asserted antitrust violation, as well as the damages arising out of the

  misconduct, can be shown on a class-wide basis. Urethane II, 768 F.3d at 1254-56. The heart of

  Plaintiffs’ allegations is that defendants violated the antitrust laws, and “[p]redominance is a test

  readily met in certain cases alleging . . . violations of the antitrust laws.” Amchem Prods., 521 U.S.

  at 625; In re Crocs, Inc. Sec. Litig., No. 07-CV-02351-PAB-KLM, 2013 U.S. Dist. LEXIS 122593,

  at *35-*36 (D. Colo. Aug. 28, 2013) (“While predominance may be difficult to demonstrate in mass

  tort cases in which the ‘individual stakes are high and disparities among class members great,’ it is a

  ‘test readily met in certain cases alleging consumer or securities fraud or violations of the antitrust

  laws.’”). Finally, as numerous courts have held, a class action is a superior method of adjudicating

  claims in cases like this one. Urethane I, 237 F.R.D. at 453. Courts routinely certify classes in

  antitrust cases. Id. at 446-47 (collecting cases).

  III.     THE PROPOSED MANNER AND FORMS OF NOTICE SHOULD BE
           APPROVED

           Rule 23 provides “[t]he court must direct notice in a reasonable manner to all class members

  who would be bound by the [proposed settlement].” Fed. R. Civ. P. 23(e)(1)(B). Where a settlement

  class has been certified under Rule 23(b)(3), “the court must direct to class members the best notice

  that is practicable under the circumstances, including individual notice to all members who can be

  identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). Notice must clearly state: (1) the

  nature of the action; (2) the class definition; (3) the claims, issues, or defenses; (4) that a class member

  may enter an appearance through an attorney if the member so desires; (5) that the court will exclude

  any member from the class who so requests; (6) the time and manner for requesting exclusion; and

  (7) the binding effect of a class judgment. Id. “‘[T]he form that such notice is to take is left to the

  discretion of the district court.’” Tennille v. W. Union Co., 785 F.3d 422, 436 (10th Cir. 2015).


                                                     -8-
  4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6887 Page 14 of 23




           A.         The Proposed Manner of Notice Should Be Approved

           Plaintiffs propose a direct notice program via e-mail, as well as a robust, multi-faceted media

  campaign to provide indirect notice through online publication and the establishment of a dedicated

  settlement website. The details of the notice plan are summarized below.

           Direct E-Mail Notice: The Short-Form Notice will be distributed via e-mail to potential

  members of the Settlement Classes who are identified in Defendants’ transactional records.

  Defendants have provided (or have indicated that they have and will produce) records reflecting

  purchases by members of the Settlement Classes, including names and addresses (street and e-mail),

  to the extent such information is reasonably available. Jodlowski Decl., ¶3.

           Because e-mail addresses are available for virtually all class members, Plaintiffs propose that

  direct, individual notice be provided via e-mail. Under Rule 23, “[t]he notice may be by one or more

  of the following: United States mail, electronic means, or other appropriate means.” Fed. R. Civ.

  P. 23(c)(2)(B) (effective Dec. 1, 2018). E-mail notice is ideal here given the nature of the Settlement

  Classes, which consists of online purchasers of contact lenses. When purchasing contact lenses online,

  class members were required to enter their e-mail address, which was then recorded by Defendants and

  used as the primary method to communicate about the purchases covered by this action and to

  advertise Defendants’ products. Online purchasers are heavy and frequent users of e-mail. Cf.

  Morgan v. Public Storage, 301 F. Supp. 3d 1237, 1263 (S.D. Fla. 2016) (“e-mail notice . . . is

  particularly appropriate in this case because . . . primary method of communication . . . was through

  email”); Lane v. Facebook, Inc., 696 F.3d 811, 818 (9th Cir. 2012) (the principal method of delivery

  was through e-mail because contact with the class members was primarily through electronic means);




                                                    -9-
  4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6888 Page 15 of 23




  In re Domestic Airline Travel Antitrust Litig., 322 F. Supp. 3d 64, 72 (D.D.C. 2018) (approving e-mail

  notice where class was comprised of airline ticket purchasers who purchased tickets online).

           E-mail is not only the most effective form of notice here, it is also by far the most efficient

  and cost-effective way to provide reasonable notice. Indeed, using e-mail notice is estimated to be at

  least ten times less expensive than providing notice by U.S. mail, resulting in millions of dollars in

  savings for the Settlement Classes. Green Decl.,4 ¶14. It would be extremely wasteful to spend a

  significant portion of the Settlement Fund sending direct mail notice to approximately 10 million

  class members across the United States, when fair and reasonable notice can be provided by a

  significantly less expensive means.

           Numerous courts have authorized e-mail notice as the primary notice method in similar

  circumstances. Jodlowski Decl., Ex. B, ¶¶18-24 (In re Yahoo! Inc. Customer Data Breach Sec.

  Litig., No. 16-md-02752-LHK, Order Granting Mot. for Prelim. Approval (N.D. Cal. July 20,

  2019)); id., Ex. C at 23-24 (Yahoo!, Mem. of P& A in Support of Pltfs’ Mot. for Prelim. Approval of

  Class Action Settlement (Oct. 22, 2018)); In re Equifax Customer Data Sec. Breach Litig., No. 1:17-

  md-2800-TWT, 2020 U.S. Dist. LEXIS 7841, at *156-*57 (N.D. Ga. Jan. 13, 2020) (approving

  notice program consisting of e-mail, a digital and social media campaign and an ad in USA Today,

  and a dedicated settlement website); In re Optical Disk Drive Prods. Antitrust Litig., No. 3:10-md-

  2143 RS, 2016 WL 7364803, at *3 (N.D. Cal. Dec. 19, 2016) (approving notice consisting of e-mail,

  settlement website, toll-free number, publication notice, press release, text link advertising, banner

  advertising, and advertising on Facebook and Twitter); Swinton v. SquareTrade, Inc., No. 4:18-CV-


  4
     Declaration of Julie N. Green on Behalf of CPT Group, Inc. in Support of Motion for Order
  Approving Notice to the Settlement Classes and Proposed Plan of Distribution (“Green Decl.”), filed
  concurrently.

                                                   - 10 -
  4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6889 Page 16 of 23




  00144-SMR-SBJ, 2019 U.S. Dist. LEXIS 25458, at *41-*42 (S.D. Iowa Feb. 14, 2019) (approving a

  notice plan where the administrator would establish a website, run ads on google, and e-mail notice

  three times to each class member); In re Airline Travel Antitrust Litig., 322 F. Supp. 3d at 72

  (approving e-mail notice to online purchaser class members due to “disproportionately higher cost of

  providing notification by direct mail as opposed to e-mail” and fact that direct e-mail notice was

  supplemented by publication and a dedicated website).5

           Publication/Internet Notice: Indirect notice will also be provided online via a targeted,

  multi-layered plan that combines the use of various digital media to reach members of the Settlement

  Classes. Specifically, the Settlement Administrator shall place online display banner advertising

  (see Ex. 3) on search engines such as Google and Bing, and ad exchanges, and utilize social media

  networks such as Facebook, Instagram and YouTube, to direct traffic to the settlement website.

  Based on its research, CPT Group estimates that this supplemental media campaign alone will result

  in 44 million impressions and reach 7.5 million class members. A press release will also be issued.

           Settlement Website and Phone Contact Information: Plaintiffs will also establish a

  website dedicated to the Settlements at www.onlinecontactlenssettlement.com. This will enable any

  potential member of a Settlement Class to easily access information about the proposed Settlements,

  including the notice and claims process, and to file claims. All documents related to the notice and

  claims process, along with the agreements and key case materials such as the Amended Complaint,

  will also be posted on the website. The Settlement Administrator will also establish a live call center

  that will operate during business hours, a dedicated 24-hour, toll-free support line with interactive
  5
      Even prior to the change in Rule 23 expressly authorizing electronic notice, e-mail notice in
  similar circumstances has been found appropriate. See, e.g., Rajagopalan v. Meracord, LLC,
  No. 12-CV-05657-BHS, 2015 U.S. Dist. LEXIS 63596, at *5-*6 (W.D. Wash. May 14, 2015)
  (e-mail notice “most efficient and cost effective notice under the circumstances,” where e-mail
  addresses were found in defendant’s customer database).

                                                  - 11 -
  4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6890 Page 17 of 23




  voice response capabilities, and an e-mail address to provide information about the Settlements and

  answer class member questions.

           Courts regularly approve notice programs that combine individualized notice and publication

  notice. See, e.g., Equifax, 2020 U.S. Dist. LEXIS 7841, at *156-*57; Optical Disk, 2016 WL

  7364803, at *3. Plaintiffs therefore respectfully submit the proposed notice plan summarized above

  satisfies the requirements of Rule 23(e) and 23(c)(2)(B) and should thus be approved by the Court.

           B.         The Proposed Forms of Notice Should Be Approved

           There are no rigid rules to determine whether class settlement notice satisfies constitutional

  or Rule 23(e) requirements. In order to satisfy due process, notice must fairly apprise prospective

  members of the class of the terms of the proposed Settlements so that class members may come to

  their own conclusions about whether the Settlements serve their interests and whether they want to

  opt out of the proposed class. W. Union, 785 F.3d at 437 (citing Gooch v. Life Inv’rs. Ins. Co. of

  Am., 672 F.3d 402, 423 (6th Cir. 2012)). Ultimately, the notice must “enable class members to make

  an informed decision about their participation.” Manual for Complex Litigation, Fourth §21.311

  (Federal Judicial Center 2004).

           The Short-Form Notice (Ex. 1) communicates to potential members of the Settlement

  Classes, in clear and concise language, the information required to make an informed decision. This

  includes information about Defendants’ alleged misconduct, the scope of the Settlement Classes, the

  amount of the Settlements, the right to opt out or object to the Settlements, and the date and location

  of the Fairness Hearing to be set by the Court. The Short-Form Notice, which will be provided to

  class members through e-mail, also directs members of the Settlement Classes to the designated

  settlement website referenced above, where the Long-Form Notice (Ex. 2), the Claim Form (Ex. 4),



                                                   - 12 -
  4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6891 Page 18 of 23




  and other settlement-related documents are available, and provides contact information for the

  Settlement Administrator and Co-Lead Class Counsel.

           The Long-Form Notice (Ex. 2) provides comprehensive language about the Settlements. It

  describes: (i) the nature of the lawsuit; (ii) the claims involved and the parties’ positions; (iii) what it

  means for a settlement to have been reached; (iv) a summary of the terms of the Settlements, including

  the monetary relief, scope of the releases and cooperation obligations; (v) the definitions of the

  Settlement Classes; (vi) a description of the Plan of Distribution and where on the settlement website

  to find more detailed information about Settlement Fund allocation; (vii) the procedures and deadlines

  for submitting a claim in order to receive a payment from the Settlement Fund; (viii) the deadlines and

  procedures for requesting exclusion from the Settlement Classes, objecting to the Settlements, and

  attending the Fairness Hearing; (ix) that members of a Settlement Class may, but need not, appear

  through their own counsel at the Fairness Hearing; (x) the binding effect of participating in the

  Settlements; (xi) the identity of Co-Lead Class Counsel; and (xii) Co-Lead Class Counsel’s intention

  to move for an award of fees, expenses, and service awards. The language in the Long-Form Notice

  and Claim Form is designed to be readily understood by members of the Settlement Classes.

           As the Tenth Circuit has found, such detail is sufficient to fairly apprise settlement class

  members of their rights with respect to the settlements and thus meet the requirements of Rule 23(e)

  and 23(c)(2)(B). W. Union, 785 F.3d at 437 (upholding district court’s approval of settlement notice

  generally informing class members of their opt-out rights, the nature of the claims at issue and the

  ways in which class members could obtain more information about the settlement).




                                                    - 13 -
  4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6892 Page 19 of 23




  IV.      THE PLAN OF DISTRIBUTION SHOULD BE PRELIMINARILY
           APPROVED

           Under Rule 23, class action settlements must be fair, reasonable, and adequate. The plan of

  distribution must also, to obtain final approval, satisfy this standard. A plan of distribution

  supported by competent and qualified counsel is reviewed to determine whether it has a “reasonable,

  rational basis.” In re Sprint Corp. ERISA Litig., 443 F. Supp. 2d 1249, 1262 (D. Kan. 2006). A

  principal goal of the plan of distribution is equitable and timely distribution without burdening the

  process in a way that will unduly waste the fund. Hershey v. ExxonMobil Oil Corp., No. 07-1300-

  JTM, 2012 U.S. Dist. LEXIS 153803, at *19 (D. Kan. Oct. 26, 2012). Similar to the requirements

  for notice, whether a distribution plan is fair and reasonable is within the discretion of the district

  court. In re Urethane Antitrust Litig., No. 04-1616-JWL, 2016 U.S. Dist. LEXIS 99839, at *72 (D.

  Kan. July 29, 2016).

           Plaintiffs contend that all class members were overcharged when they purchased contact

  lenses from 1-800 or from the other Defendants, which entered into bilateral agreements with 1-800

  to restrict certain online advertising relating to the sale of contact lenses. ECF No. 72, ¶¶2-13.

  Discovery has shown that, in terms of gross dollar sales, nearly 74% of the Settlement Classes are

  comprised of purchases from 1-800. Purchases from WAG/VD comprise 20% of the Settlement

  Classes, and purchases from AC Lens/NVI and Luxottica comprise the remaining 6%.

           The Plan of Distribution (Ex. 5) thus allocates the majority of the Net Settlement Fund to

  purchasers from 1-800: 74% of the Net Settlement Fund will be allocated to compensate class

  members for overcharges on qualifying purchases from 1-800; 20% will be allocated to class

  members with qualifying WAG/VD purchases; 4% will be allocated to class members with




                                                  - 14 -
  4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6893 Page 20 of 23




  qualifying AC Lens/NVI purchases; 2% will be allocated to class members with qualifying Luxottica

  purchases.

           The Plan of Distribution allows class members to make a claim against the Net Settlement

  Fund based on the total number of qualifying purchases (i.e., a contact lens purchase made online

  from 1-800, WAG/VD, Luxottica or AC Lens/NVI during the applicable Settlement Class Period)

  and the price paid for each contact lens purchase. To determine each Settlement Class member’s

  distribution, the administrator will total the price of all qualifying purchases from each Defendant,

  and each class member will receive a pro rata share of the Net Settlement Fund in the proportion

  that the Authorized Claimant’s total purchases from that Defendant (the “claim”) bears to the total

  purchases (“total claims”) of all the Authorized Claimants from that Defendant. The administrator

  will then total the class member’s pro rata share of the Net Settlement Fund allocated to each

  Authorized Claimant for each Defendant to get the class member’s total distribution.

           Distributions will be made through electronic means selected by the claimant: either ACH,

  Venmo or PayPal. Although the claims process will be structured to encourage class members to

  receive their distribution through electronic means to help minimize administrative costs, the

  Settlement Administrator will provide Authorized Claimants with their distribution by check sent via

  U.S. mail, if class members so request.

           Plaintiffs respectfully submit that the Plan of Distribution is well within the range of possible

  approval, and thus should be preliminarily approved by the Court.

  V.       PROPOSED SCHEDULE OF SETTLEMENT EVENTS

           Finally, Plaintiffs respectfully propose the following schedule for remaining events and

  submissions related to the Settlements:



                                                    - 15 -
  4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6894 Page 21 of 23




                          EVENT                                             DATE
  Commence Notice and Launch Settlement Website              35 days after Order granting motion
  (“Notice Date”)
  File Papers in Support of Final Approval and Fee and       45 days after Notice Date
  Expense Applications
  Last Day to Mail Request for Exclusion/Opt Out of          75 days after Notice Date
  Class; Last Day to Object to Settlements
  File Reply Papers in Support of Final Approval and Fee     7 days after objection deadline
  and Expense Application
  Fairness Hearing                                           14 days after reply briefs filed
  Deadline to Submit Claim Forms                             45 days after Fairness Hearing

  VI.      CONCLUSION

           For the foregoing reasons, Plaintiffs respectfully request the Court enter an Order

  preliminarily approving settlement with 1-800, conditionally certifying the settlement class,

  approving the notice program and preliminarily approving the Plan of Distribution.

                                            Respectfully submitted,

  DATED: May 15, 2020                       ROBBINS GELLER RUDMAN
                                             & DOWD LLP
                                            DAVID W. MITCHELL (Admitted Pro Hac Vice)
                                            BRIAN O. O’MARA (Admitted Pro Hac Vice)
                                            STEVEN M. JODLOWSKI (Admitted Pro Hac Vice)
                                            ASHLEY M. KELLY (Admitted Pro Hac Vice)


                                                            s/ David W. Mitchell
                                                           DAVID W. MITCHELL
                                            655 West Broadway, Suite 1900
                                            San Diego, CA 92101
                                            Telephone: 619/231-1058
                                            619/231-7423 (fax)

                                            Counsel for Plaintiffs and
                                            Interim Lead Counsel for the Putative Class




                                               - 16 -
  4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6895 Page 22 of 23




  DATED: May 15, 2020              BOIES SCHILLER FLEXNER LLP
                                   CARL GOLDFARB (Admitted Pro Hac Vice)


                                                    s/ Carl Goldfarb
                                                   CARL GOLDFARB

                                   401 East Las Olas Blvd., Suite 1200
                                   Fort Lauderdale, FL 33301
                                   Telephone: 954/356-0011
                                   954/356-0022 (fax)

                                   BOIES SCHILLER FLEXNER LLP
                                   SCOTT E. GANT (Admitted Pro Hac Vice)
                                   MELISSA F. ZAPPALA (Admitted Pro Hac Vice)
                                   1401 New York Ave., NW
                                   Washington, DC 20005
                                   Telephone: 202/237-2727
                                   202/237-6131 (fax)
                                   Counsel for Plaintiffs and
                                   Interim Lead Counsel for the Putative Class

                                   ANDERSON & KARRENBERG
                                   HEATHER M. SNEDDON
                                   JARED SCOTT
                                   50 West Broadway, Suite 700
                                   Salt Lake City, UT 84101
                                   Telephone: 801/534-1700
                                   801/364-7697 (fax)
                                   Counsel for Plaintiffs




                                     - 17 -
  4829-8778-0021.v3
Case 2:16-cv-01183-TC-DBP Document 321 Filed 05/15/20 PageID.6896 Page 23 of 23




                                     INDEX OF EXHIBITS
           Exhibit 1:   Short-Form Notice: Legal Notice

           Exhibit 2:   Long-Form Notice: Notice of Online Contact Lens Antitrust Settlements
           Exhibit 3:   Publication Notice: Banner Ad

           Exhibit 4:   Claim Form

           Exhibit 5:   Proposed Plan of Distribution




  4829-8778-0021.v3
